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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

UNITED STATES OF AMERICA                                §
                                                        §
                                       Plaintiff        §
                                                        §
vs.                                                     §         CASE NO. 7:18-CV-375
                                                        §
801.077 ACRES OF LAND, MORE OR                          §
LESS, SITUATE IN STARR COUNTY                           §
STATE OF TEXAS; AND CITY OF                             §
LAREDO, ET AL.,                                         §
                                                        §
                                   Defendants.          §

                DEFENDANT’S DISCLOSURE OF INTERESTED PARTIES

        NOW COMES DEFENDANT, City of Laredo, by and through Alyssa J. Castillon,
Assistant City Attorney, and hereby certifies that the following persons or entities have a
financial interest in the outcome of this litigation:

        1. City of Laredo
           c/o Kristina K. Laurel Hale, City Attorney
           1110 Houston Street
           Laredo, Texas 78042
           Landowner of subject property

        2. Kenneth Wilkins d/b/a Chapotal Farms
           Post Office Box 3609
           McAllen, Texas 78502
           c/o Tom Wilkins of Wilkins & Wilkins, Attorneys at Law
           Post Office Box 3609
           McAllen, Texas 78502
           Telephone (956) 682-4551
           Facsimile (956) 682-4554
           Tenant in Possession of subject property

        3. United States of America
           Plaintiff
                                                        Respectfully Submitted,

                                                        KRISTINA K. LAUREL HALE
                                                        City Attorney for the City of Laredo

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                                                     By:    /s/ Alyssa J. Castillon
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                                                            Assistant City Attorney for the City
                                                            of Laredo


                                CERTIFICATE OF SERVICE

        I hereby certify that on December 17, 2018, I electronically filed the foregoing document
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to the attorney(s) of record in this case and a copy of the foregoing document is being sent via
hand delivery, email, first class mail, certified mail, return-receipt requested, and/or facsimile.

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                                                            /s/ Alyssa J. Castillon
                                                            ALYSSA J. CASTILLON




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